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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


  ERIC CERVINI, WENDY DAVIS, DAVID
  GINS, and TIMOTHY HOLLOWAY,
                                                            Civil Action No. 1:21-cv-00565-RP
                                  Plaintiffs,

            v.

  ELIAZAR CISNEROS, HANNAH CEH,
  JOEYLYNN MESAROS, ROBERT
  MESAROS, DOLORES PARK, and JOHN
  and JANE DOES,

                                  Defendants.



                                  JOINT SCHEDULING ORDER

       Pursuant to Federal Rule of Civil Procedure 16, the following Agreed Scheduling Order is

issued by the Court:

       1.        A report on alternative dispute resolution in compliance with Local Rule CV-88

shall be filed on or before January 13, 2023.

       2.        The parties asserting claims for relief shall submit a written offer of settlement to

opposing parties on or before June 2, 2023, and each opposing party shall respond, in writing, on

or before June 16, 2023. All offers of settlement are to be private, not filed. The parties are ordered

to retain the written offers of settlement and responses so the Court may use them in assessing

attorney’s fees and costs at the conclusion of the trial.

       3.        Each party shall complete and file the attached “Notice Concerning Reference to

United States Magistrate Judge” on or before November 18, 2022.




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        4.       The parties shall file all motions to amend or supplement pleadings or to join

additional parties on or before January 13, 2023.

        5.       All parties asserting claims for relief shall file all designations of testifying experts

and serve on all parties, but not file, the materials required by Federal Rule of Civil Procedure

26(a)(2)(B) on or before March 15, 2023. Parties resisting claims for relief shall file their

designations of testifying experts and serve on all parties, but not file, the materials required by

Federal Rule of Civil Procedure 26(a)(2)(B) on or before May 1, 2023. All parties shall file all

designations of rebuttal experts and serve on all parties the materials required by Federal Rule of

Civil Procedure 26(a)(2)(B) for such rebuttal experts, to the extent not already served, 15 days

from the receipt of the report of the opposing expert.

        6.       An objection to the reliability of an expert’s proposed testimony under Federal Rule

of Evidence 702 shall be made by motion, specifically stating the basis for the objection and

identifying the objectionable testimony, within 11 days from the receipt of the written report of

the expert’s proposed testimony, or within 11 days from the completion of the expert’s deposition,

if a deposition is taken, whichever is later.

        7.       The parties shall complete all discovery on or before June 23, 2023.

        8.       All dispositive motions shall be filed on or before August 18, 2023 and shall be

limited to 20 pages. Responses shall be filed and served on all other parties not later than 14 days

after the service of the motion and shall be limited to 20 pages. Any replies shall be filed and

served on all other parties not later than 7 days after the service of the response and shall be limited

to 10 pages, but the Court need not wait for the reply before ruling on the motion.

        9.       The Court will set this case for final pretrial conference at a later time. The final

pretrial conference shall be attended by at least one of the attorneys who will conduct the trial for



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each of the parties and by any unrepresented parties. The parties should consult Local Rule

CV-16(e) regarding matters to be filed in advance of the final pretrial conference.



       10.     This case is set for ___________________
                                        Jury            trial commencing at 9:00 a.m. on

  __________________,
_ December 11         2023.
                      2     By filing an agreed motion, the parties may request that this

Court extend any deadline set in this Order, with the exception of the dispositive motions deadline

and the trial date. The Court may impose sanctions under Federal Rule of Civil Procedure 16(f) if

the parties do not make timely submissions under this Order.



SIGNED on _________________
            October 13      __, 20__.
                                  22




                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE




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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

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                        NOTICE CONCERNING REFERENCE TO
                        UNITED STATES MAGISTRATE JUDGE

       In accordance with the provisions of 28 U.S.C. § 636(c), Federal Rule of Civil Procedure 73,

and the Local Rules of the United States District Court for the Western District of Texas, the

following party ________________________________________________________________

through counsel _______________________________________________________________

       ___ consents to having a United States Magistrate Judge preside over the trial in this case.

       ___ declines to consent to trial before a United States Magistrate Judge.



                                                      Respectfully submitted,

                                                      __________________________________

                                                      Attorney for:

                                                      __________________________________




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